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                                        August 29, 2018

Via ECF

Hon. Ona T. Wang, USMJ
United States District Court, SDNY
40 Foley Square, Courtroom: 20D
New York, NY 10007

                      Re: Underwood v. TAFSC Housing Development Fund Corporation et al
                           Case No. 18-CV-06664 (RJS)(OTW)
                           Request for Settlement Conference

Dear Magistrate-Judge Wang:

       My firm represents Plaintiff in the above-referenced action, and I respectfully write to
request a settlement conference with Your Honor as per the Hon. Judge Sullivan’s August 24,
2018 order which states in relevant part as follows:

               IT IS FURTHER ORDERED that the parties shall contact Magistrate Judge
               Wang no later than August 29, 2018 regarding the scheduling of a settlement
               conference.

       In terms of scheduling, an initial conference is set for October 26, 2018, and the time for
the Defendants to respond to the complaint has been extended to October 5, 2018. Counsels for
the appearing parties called Your Honor’s chambers on August 29, 2018, and were told to make
a request via ECF, and that the Court will set a date for a settlement conference thereafter.

       I thank the Court in advance for its time and consideration.

Respectfully submitted,

Abdul Hassan Law Group, PLLC



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_/s/ Abdul Hassan____________
By: Abdul K. Hassan, Esq. (AH6510)
Counsel for Plaintiff

cc:   Defense Counsels via ECF




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